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                                               EXHIBIT A
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                                              SUMMONS                                                                       FOR couRr<sBoNLY
                                                                                                                        (70L0 PARA UBO 08 LA CORfP)
                                       (CITACION JUDIC)AL)
   NOTICETOaEFENDANT:
                                                                                                                 FILED BY FAX
   (AVISO AL DEMANDADO):
                                   ----~                                                                           ALAMEDA COUNTY
    Credit Acceptance Corporat~ nd DOES I through 10, inclusive
                                                                                                                     May 11, 2016
                                                                                                                         CLERK OF
   YOU ARE BEING SUED BY PLAINTIFF:                                                                              THE SUPERIOR COURT
   (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                           By Alicia Espinoza, Deputy
    Savannah Milheaux,

     NOTtCEt You have been sued. The court may decide against you without your being heard untess you respond wittun 30 days. Read the information
    below.
       You have 30 CALENDAR DAYS aRer thie summons and legal papers afe served on you to file a written respense at this court and have a capy
    served on the plaintiff. A tetter or phone call will not protect you. Your written response must be in proper tegat form if you want the ceurt to hear your
     case. There may be a court form that you can use for your response. You can find these court forms and more Information at the California Couris
     Onlme Seff-Hetp Center (wwrv.couRiMo.ca.gov/selfhelp), your counry law library, or the courthouse nearest you. If you cannot pay the fifing fee, ask
     the eourt elerk for a fee vaaiver form. If you do not fi!e your response on time, you may lose the case by default, and yourwages, monay and property
    may be taken vAthout further warning from the court.
       There are other legal requirements. You may waru to call an atterney righl away. If you do not know an attomey, you may want to call an attorney
    referral servlce. If you cannot afterd an attomey, you may be efigible for 6ree legal services from a nonprofrl legai services program. You can locate
    these nonprofit groups at the Calilomia Legal Services Nleb site (www.lawhetpcalNomta.org), the Catifornia Courts Online SelNfelp Center
    (wwvw.courtin(o.ca.gov/seRhelp), or by contacting your local court or county bar association. NOTE: The oaurt has a statutory lien for waived fees and
    cosls on any senlemenl or arbitration award of $10,000 or mare in a civil case. The court's Ilen must be paid before the ooun wi8 dismiss the oase.
    IAVISOt Lo han demandado.      Si no respartde dentro de 30 dias, h3 corte puede decidir en su contra sin escucharsu versidn. Lea la intormacrdn a
    conlinrJacidn.
      rrerie 30 D1AS DE CALENDARIO despuds de que le entreguen esta citacibn y papeles legales para presentar una respueata por escrito en esta
    corte y hacer que se entregue una copia af demandante. Una carta o una lfamade telefbnica no lo protegen. Su respuesta porescrito fiene que estar
    en formato fegalco,•recto sf desea que procesen su caso en ta corre. Es posible que haya un formulario que usted pueda usar para su respuesta.
    Puade enrxsntrar estos fonrtularios de la corte y m8s fnfomraddn en ef Centro de Ayude de /as Cortes de Califomia twww.sucorle.ca.govJ, en la
    brblioteca de leyes de su condado o en la corte que fe quede m8s cen:a. Si no puede pagar la cuota de presentaci6n, pide al seareterio de /a oorte
    que le dLr un formulado de exencibn de pago de caotas. Si no pri:senta su respuesta a tiempo, puede perder et caso porineumpDmiento y la corte le
    podr3 quihar su suetdo, dinero y bienes sin md.s advertenci•a.
      Nay otros requisiros legates. Es feenmendabte qua liame a un abogado inmedfatamente. Si no cortoce e un abogado• puede aamar a un servicfo de
    remisidn a abogadas. St no puede pagar a un abogado, es posible que cumple con los requtsilos pare ob(enerservicios legates gratuiros de un
    programa de servicfos /egales sin fines de lucro. Puede encontrarestos grupos sin 8ne3 de lucro en el sffk web de Cel•rlomie Legal Services,
    hvww.Iawhelpeafifomia.org), en et Centro de Ayuda de /as Cortes de Calilomla, (www.suoorte.ra.gev) o porri8ndose en corrtecto con la corte o el
    colegiede abogados locales. A VISO: Porley, !a corte tiene dereeho a rec/amarlas cuotes y los costos exerttos por imponer un gravamerr sobre
    cuatquier recuperacibn de $70,000 o m9s de valor reciblda mediante un acuerdo o una concesidn de arbitraje en un caso de derecfro civit Tiene que
    pegarel gravamen de la corte antes de qrre ia certe puede desecher el caso.

   The name and address of the wurt is:
   (El nombre y direcci6n de la        corte es): Superior Court of Alameda County                                          16815955

    1225 Fallon St. Oakland, CA 94612                                                                    ©
   The name. address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
   (EI nombre, !a direccidn y el nrSmero de teldfono de/ abogado del demendante, o dpl r,h,mAn4AntA que no Uene abogado, es):
    L. Paul Mankin, Esq., 4655 Cass St., Ste, 112, San Diego, Ca 9211'"°'                                            3577

   DATE:       MaY 11 r 2016                                                     Clerk, by                       r                                      , Deputy
   (Fecha)                                                                       (Secretario)                                            —              (Adjuntc
   (For proof of service of this summons, use Proof of Servioe of Sum Rsr0-rrn POS-070).J
   (Para prueba de entrega de esta citatidn use el formulan          of ServiCe of Summons, (POS-010)).
              pLltr t~i,                 NOTICE TO T       RSON SERVED: You are served
                              r          1.       an individual defendant.
                                   J              the person sued under lhe fictitious name of (speci fy)~                                                               ~



                                         3,
                                              ~    on behalt of (specify).•
                                                     ,~~(
                                              under: l~J CCP 416.10 (corporation)
                                                                                                 /~~c                 CCP 416.60 (minor)
       rC                    Y~                      0 CCP 416.20 (defunct corporation)                               CCP 416.70 (conservatee)
                       Ati p~1                       0 CCP 416.40 (assecfation or partnership)                        CCP 416.90 (authorized person)                     /
                                           \ LJ other (specify):
                                          4. 0 by~p s~en live an (dete):
    F'Orm,ldOplBd fGr MarqalCry U7a                                       SUMMONS                                                 Code of CivW Procedure 53 413.20.465
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                                                                            FILED BY FAX
                                                                              ALAMEDA COUNTY
       L. Paul Mankin (SBN 264038)                                             May 11, 2016
   1
       The Law Office of L. Paul Mankin                                            CLERK OF
   2   4655 Cass St., Ste. 112                                              THE SUPERIOR COURT
                                                                            By Alicia Espinoza, Deputy
       San Diego, Ca 92109
   3   T: (800) 219-3577                                                    CASE NUMBER:

   4   F:(323) 207-3885                                                         RG16815955
       pmankin@Paulmankin.com
   5   Attorney for Plaintiff
       SAVANNAII MILHEAUX
   6
   7                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
   8
                                      FOR THE COUNTY OF ALAMEDA
   9
                                           LIMITED JURISDICTION
  10
  11
       SAVANNAH MILHEAUX,                               Case No.:
  12
                      Plaintiff,                        COMPLAINT AND DEMAND FOR
  13                                                    JURY TRIAL FOR:
              vs.
  14
                                                        1. VIOLATIONS OF THE
  15                                                       ROSENTHAL FAIR DEBT
       CREDIT ACCEPTANCE CORPORATION,
                                                           COLLECTION PRACTICES ACT
  16   and DOES i through 10, inclusive,
                                                           [CAL. CIV. CODE § 17881
  17                  Defendant(s).
                                                        2. VIOLATIONS OF THE TELEPHONE
  18                                                       CONSUMER PROTECTION ACT 147
                                                           U.S.C. § 2271
  19
  20                                                    (AMOUNT NOT TO EXCEED $10,000)

  21
  22                                   COMPLAINT FOR DAMAGES
  23                                         INTRODUCTION
  24          1.      Savannali Milheaux ("Plaintiff') brings this action to secure redress from Credit
  25   Acceptance Corporation ("Defendant") for violations of the Rosenthal Fair Deht Collcction
  26   1'ractices Act [CAL. CIV. CODE § 1788] and for violations of the Telephone Consumer
  27   Protection Act [47 U.S.C. § 2271.
  28                                             PARTIES



                                                                           COMPLAINT FOR DAMAGES
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     L. Paul Mankin (SBN 264038)
 1
     The Law Office of L. Paul Mankin
2    4655 Cass St., Ste. 112
     San Diego, Ca 92109
 3   T: (800) 219-3577
 4   F:(323) 207-3885
     pmankin@Paulmankin.com
 5   Attorney for Plaintiff
     SAVANNAH MILHEAUX
6
 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                   FOR THE COUNTY OF ALAMEDA
9
                                         LIMITED JURISDICTION
10
11
     SAVANNAH MILHEAUX,                             Case No.:
12
                   Plaintiff,                       COMPLAINT AND DEMAND FOR
13                                                  JURY TRIAL FOR:
            vs.
14
                                                    1. VIOLATIONS OF THE
15                                                     ROSENTHAL FAIR DEBT
     CREDIT ACCEPTANCE CORPORATION,                    COLLECTION PRACTICES ACT
16   and DOES 1 through 10, inclusive,
                                                       [CAL. CIV. CODE § 17881
17                 Defendant(s).
                                                    2. VIOLATIONS OF THE TELEPHONE
18                                                     CONSUMER PROTECTION ACT 147
                                                       U.S.C. § 2271
19
20                                                  (AMOUNT NOT TO EXCEED $10,000)

21
22                                  COMPLAINT FOR DAMAGES
23                                         INTRODUCTION
24          1.     Savannah Milheaux ("Plaintiff') brings this action to secure redress from Credit
25   Acceptance Corporation ("Defendant") for violations of the Rosenthal rair llebt C ollection
26   I'ractices Act [CAL. CIV.. CODE § 1788] and for violations of the Telephone Consumer
27   Protection Act [47 U.S.C. § 227].
28                                             PARTIES



                                                                        COMPLAINT FOR DAMAGES
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 1
        2.        Plaintiff Savannah Milheaux ("Plaintiff'), a natural person who at all times
 2
 3 herein mentioned was a resident of the City of Oakland, in Alameda County, and State of
     California and is a"debtor" as defined by Cal. Civ. Code § 1788.2(h).
 4
         3. At all relevant times herein, Defendant, Credit Acceptance Corporation (hereinafter
 5 "Defendant"), was a company engaged, by use of mails and telephone, in the business of '
 6 collecting a debt from Plaintiff which qualifies as a"consumer debt" as defined by Cal. Civ.
 7   Code § 1788.2(f). Defendant regularly attempts to collect debts alleged to be due another, and
 8   therefore is a"debt collector" as defined by the RFDCPA, Cal. Civ. Code § 1788.2(c).
 9       4. Plaintiff does not know the true names and capacities, whether corporate, partnership,
10   associate, individual or otherwise, of Defendants sued herein as Does 1 through 10, inclusive,
11   and therefore names said Defendants under provisions of Section =174 of the California Code of

12   Civil Procedure.
        5. Plaintiff is informed and believes, and on that basis alleges that Defendants Does 1
13
14 through 10 are in some manner responsible for acts, occurrences and transactions set forth
     herein and are legally liable to Plaintiff.
15
16                                           FACTUAL ALLEGATIONS

17
         6. At all times relevant to this action, Defendant owned, operated and/or controlled
18 telephone numbers (810) 277-1003; (517) 338-1004; (800) 709-8625; (734) 742-1035; and
19
     others. At all times relevant to this action, Defendant called Plaintiff from, but not limited to
20 the forgoing telephone numbers for the purpose of collecting the alleged debt.
21       7. Defendant contacted or attempted to contact Plaintiff on Plaintiffls cellular telephone
22   number ending in -5686.
23       8. On or around April of 2012, and within one year prior to the filing of this action,
24   Defendant contacted Plaintiff to collect money, property or their equivalent, due or owing or

25   alleged to be due or owing from a natural person.
         9. This financial obligation was primarily for personal, family or household purposes and
26
     are therefore "debt(s)" as that term is defined by 15 U.S.C. § 1692a(5).
27
         10. Within one year prior to the filing of this action, Defendant caused Plaintiff's telephone
28
     to ring repeatedly and continuously to annoy Plaintiff.
                                                     -2-

                                                                           COMPLAINT FOR DAMAGES
           Case 4:16-cv-03584-KAW Document 1-1 Filed 06/24/16 Page 6 of 15




 1       11. All telephone calls since 2012 to the filing of the instant complaint constitute an
     ongoing practice and pattern.
 2
         12. Defendant communicated with Plaintiff with such frequency as to be unreasonable
 3
     under the circumstances and to constitute harassment. The frequency of attempted
 4
     communications with Plaintiff evidence Defendant's intent to harass Plaintiff.
 5       13. As an illustrative example, Defendant has contacted or attempted to contact Plaintiff
 6 over fifty (50) times since 2012. Also as a recent illustrative example, Defendant contacted or
 7   attempted to contact Plaintiff at 7:01 a.m. on February 5, 2016.
 8       14. Further evidencing Defendant's attempted contacts with Plaintiff, Defendant contacted
 9   or attempted to contact Plaintiff at the following times: May 12, 2015 at 4:28 p.m.; May 13,
10   2015 at 1:44 p.m. and 4:35 p.m.; May 14, 2015 at 4:11 p.m.; May 18, 2015 at 12:20 p.m.

11       15. As such, the natural and probable consequences of Defendant's conduct were to harass,
     oppress or abuse Plaintiff in connection with the collection of the alleged debt.
12
         16. Plaintiff has demanded that Defendant cease calling Plaintiff on several occasions.
13
     Plaintiff's demand notwithstanding, Defendant continues to contact Plaintiff.
14
         17. At all times relevant to this action, while conducting business in California, Defendant
15
     has been subject to, and required to abide by, the laws of the United States, which included the
16 TCPA and its related regulations that are set forth at 47 C.F.R. § 64.1200 ("TCPA
17 Regulations"), as well as the opinions, regulations and orders issued by the courts and the FCC
18   implementing, interpreting and enforcing the TCPA and the TCPA regulations.
19       18. At all times relevant to this action, Defendant owned, operated and or controlled an
20 "automatic telephone dialing system" as defined by TCPA 47 U.S.C. § 227(a)(1) that
21   originated, routed and/or terminated telecommunications.

22       19. Within four years prior to the filing of this action, Defendant called Plaintiff at
     Plaintiff s cellular telephone number multiple times using an artificial prerecorded voice or
23
24 using equipment which has the capacity to store or produce telephone numbers to be called,
     using random or sequential number generator and to dial such numbers, also known as an
25
     "automatic telephone dialing system" as defined by TCPA 47 U.S.C. § 227(a)(1)(A) and (B).
26
         20. Defendant never received Plaintiff's consent to call Plaintiff on Plaintiff's cellular
27
     telephone, to the extent it ever existed, using an "automatic telephone dialing system" or an
28   "artificial or prerecorded voice" as defined in 47 U.S.C. § 227 (a)(1).

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                                                                           COMPLAINT FOR DAMAGES
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           21. Even assuming arguendo that Defendant did have consent to call Plaintiff on Plaintiff's
 1
       cellular telephone using an ATDS, that consent was subsequently revoked by Plaintiff.
 2
           22. At no time have Plaintiff and Defendant had an "established business relationship" as
 3
       defined by 47 U.S.C. § 227(a)(2).
 4
           23. Defendant is not a tax exempt nonprofit organization.
 5
           24. Defendant's violation of the TCPA was willful. Defendant's violation of the TCPA was
 6     willful because Plaintiff requested that Defendant cease calling Plaintiff.
 7
                                          FIRST CAUSE OF ACTION
 8
                              (Violation of the RFDCPA, CAL. Cw. ConE § 1788)
 9
               25.       Plaintiff incorporates by reference all of the above paragraphs of this Complaint
10
       as though fully stated herein.
               26.    Defendant violated the RFDCPA. Defendant's violations include, but are not
12'
       limited to, the following:
13 I
              (a)     Defendant violated CAL. Ctv. CODE § 1788.11(d) by causing a telephone to ring
14
       repeatedly or continuously to annoy the person called; and
15
              (b)     Defendant violated CAI.. Clv. CODE § 1788.11(e) by communicating, by
16
       telephone or in person, with the debtor with such frequency as to be unreasonable and to
17
       constitute an harassment to the debtor under the circumstances; and
18
              (c) " Defendant violated CAL. CIv. CODE § 1788.17 by collecting or attempting to
19
       collect a consumer debt without complying with the provisions of Sections 1692b to 1692j,
20
       inclusive, of ... Title 15 of the United States Code (Fair Debt Collection Practices Act).
21
                      (i)        Defendant violated CAL. CIv. CODE § 1788.17 by violating 15 U.S.C. §
22
       1692d by engaging in conduct, the natural consequence of which is to harass, oppress or abuse
23
       any person in connection with the collection of the alleged debt; and
24
                      (ii)       Defendant violated CAL. Civ. CODE § 1788.17 by violating 15 U.S.C. §
25
       1692d(5) by causing Plaintiff s phone to ring or engaging Plaintiff in telephone conversations
26
       repeatedly; and
27
              27.     Defendant's acts, as described above, were done intentionally with the purpose
28
       of coercing Plaintiff to pay the alleged debt.
                                                         -4-

                                                                               COMPLAINT FOR DAMAGES ~
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 1             28.   As a result of the foregoing violations of the RFDCPA, Defendant is
 2   liable to Plaintiff for actual damages, statutory damages, and attorney's fees and costs.
 3                                    SECOND CAUSE OF ACTION
 4                               (Violations of the TCPA, 47 U.S.C. § 227)
 5             29.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint
 6   as though fully stated herein.
 7             30.    Defendant violated the TCPA. Defendant's violations include, but are not
 8   limited to the following:
 9             (a)   Within four years prior to the filing of this action, on multiple occasions,
10   Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which states in pertinent part, "It shall
11   be unlawful for any person within the United States ... to make any call (other than a call
12   made for emergency purposes or made with the prior express consent of the called party) using
13   any automatic telephone dialing system or an artificial or prerecorded voice — to any telephone
14   number assigned to a... cellular telephone service ... or any service for which the called party
15 ' is charged for the call.

16             (b)   Within four years prior to the filing of this action, on multiple occasions,
17   Defendant willfully and/or knowingly contacted Plaintiff at Plaintiff's cellular telephone using
18   an artificial prerecorded voice or an automatic telephone dialing system and as such, Defendant
19   knowing and/or willfully violated the TCPA.
20             31.    As a result of Defendant's violations of 47 U.S.C. § 227, Plaintiff is entitled to
21   an award of five hundred dollars ($500.00) in statutory damages, for each and every violation,
22   pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that Defendant knowingly and/or
23   willfully violated the TCPA, Plaintiff is entitled to an award of one thousand five hundred
24   dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
25   U.S.C. § 227(b)(3)(C).

26             32.    Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the
27   future.

28

                                                       -5-

                                                                              COMPLAINT FOR DAMAGES ~
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 1                                    VII. PRAYER FOR RELIEF
 2            WHEREFORE, Plaintiff respectfully requests that judgment be entered against
 3     Defendant for the following:
 4            (a)    An injunction prohibiting Defendant from contacting Plaintiff on Plaintiffls
 5                   cellular telephone using an automated dialing system pursuant to 47 U.S.C. §
 6                   227(b)(3)(A); and
 7            (b)    Actual damages pursuant to CAL. Civ. CODE § 1788.30(a); and
 8            (c)    As a result of Defendant's violations of 47 U. S.C. § 227(b)(1), Plaintiff is
 9                   entitled to and requests five hundred dollars ($500.00) in statutory damages, for
10                   each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B); and
11            (d)     As a result of Defendant's willful and/or knowing violations of 47 U.S.C. §
12                   227(b)(1), Plaintiff is entitled to and requests treble damages, as provided by
13                   statute, up to one thousand five hundred dollars ($1,500.00), for each and every
14                   violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);
15                   and
16 I          (e)    Statutory damages pursuant to CAL. Civ. CODE § 1788.30(b); and
17 I          (f)    Costs and reasonable attorney's fees pursuant to CAL. CIV. CODE § 1788.30(c);
18                   and
19            (g)    Awarding Plaintiff any pre judgment and post judgment interest as may be
20                   allowed under the law; and
21            (h)    For such other and further relief as the Court may deem just and proper.
22
23
24
25
26
27
28

                                                      -6-

                                                                             COMPLAINT FOR DAMAGES I
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                         DEMAND FOR JURY TRIAL
Please take notice that Plaintiff demands a trial by jury in this action.




Date: May 9, 2016


                                                         Paul Mankin, Esq.
                                                         Attorney for Plaintiff




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                                                                COMPLAINT FOR DAMAGES
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